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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CODING TECHNOLOGIES, LLC,
              Plaintiff,                             C.A. NO. 1:18-cv-01008-UNA
   v.
                                                     JURY TRIAL DEMANDED
 PRIMO WATER CORPORATION

              Defendant.
 CODING TECHNOLOGIES, LLC,
              Plaintiff,                             C.A. NO. 1:18-cv-01009-UNA
      v.
                                                     JURY TRIAL DEMANDED
 SOL REPUBLIC, INC.,
                 Defendant.




                      MOTION AND ORDER FOR ADMISSION
                   PRO HAC VICE OF COLEMAN W. WATSON, ESQ.

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the admission

pro hac vice of Coleman W. Watson of the law firm Watson LLP in Orlando, Florida, to represent

Coding Technologies, LLC in this matter.


Dated: July 13, 2018                 STAMOULIS & WEINBLATT LLC

                                            /s/ Stamatios Stamoulis
                                            Stamatios Stamoulis (No. 4606)
                                            Two Fox Point Centre
                                            6 Denny Road, Suite 307
                                            Wilmington, DE 19809
                                            Telephone: (302) 999-1540
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                                            Attorneys for Plaintiff
                                            Coding Technologies, LLC
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                           ORDER GRANTING MOTION

      IT IS HEREBY ORDERED counsel's Motion for Admission Pro Hac Vice of Coleman W.

Watson of the law firm Watson LLP is GRANTED.



Dated: ____________________                     _________________________________
                                                United States District Judge
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of California, Florida,

Georgia, and New York, and pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction

of this Court for any alleged misconduct which occurs in the preparation or course of this action.

I also certify that I am generally familiar with this Court’s Local Rules. In accordance with

Standing Order for District Court Fund effective 7/23/09, I further certify that the annual fee of

$25.00 has been paid to the Clerk’s Office.




                                              WATSON LLP

                                              /s/ Coleman W. Watson _________
                                              COLEMAN W. WATSON, ESQ.
                                              Florida Bar. No. 0087288
                                              California Bar No. 266015
                                              Georgia Bar No. 317133
                                              New York Bar No. 4850004
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                                              Date: July 13, 2018
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2018, I electronically filed the above documents with the

Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                             /s/Stamatios Stamoulis
                                             Stamatios Stamoulis (#4606)
